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                                 CRIMINAL CALENDAR

The following CRIMINAL CASE will be presented by the United States Government in the
United States District Court, 915 Lafayette Boulevard, Bridgeport, Connecticut, before the
Honorable KARI A. DOOLEY, United States District Judge, on August 3, 2022 at 2:00
p.m.
                                                                    AUSA DAVID E. NOVICK
  ANTITRUST DIV. NY OFFICE ASSISTANT CHIEF EYITAYO ST. MATTHEW-DANIEL

                                                                               Waiver and Guilty Plea

UNITED STATES                                 Docket No. 3:22CR_____(KAD) __

      v.
                                              COUNT ONE
BC FLYNN
John Doe CONTRACTING                          15 U.S.C. § 1
CORP.                                         (Conspiracy to Restrain Trade)
(Audrey A. Felsen, Esq.)
                                              PENALTIES
                                              Fine: Maximum $100 million / Twice gross gain or loss
                                              Probation: Maximum 5 years
                                              Special Assessment: $400

                                              COUNT TWO
                                              18 U.S.C. § 1349
                                              (Conspiracy to Commit Wire Fraud)

                                              PENALTIES
                                              Fine: Maximum $500,000 / Twice gross gain or loss
                                              Probation: Maximum 5 years
                                              Special Assessment: $400




To:   Honorable Kari A. Dooley, USDJ


cc:   U. S. Attorney’s Office – Bridgeport
      U. S. Marshal’s Office – Bridgeport - via email
      U. S. Clerk’s Office – Kristen Gould, Courtroom Deputy - via email
      U. S. Probation Office – Bridgeport- via email
      Audrey A. Felsen, Esq. (Counsel for Defendant) - via email
